                                  Exhibit F




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 Thursday, February 14, 2019                              The Bakersfield Californian                                                  MARKETPLACE                                                                                                                                                Page 39
                                                                                                                                                                                                                      SUMMONS (Family Law)
Dogs                                               Fictitious Names                                   Public Notices                                                                                             CASE NUMBER (NUMERO DE CASO):
                                                                                                                                                                                                                         BFL-19001062
                                                              FILE NO. #2019-B0468                    The Commission on Accreditation of
                                                              FICTITIOUS BUSINESS                     Medical Transport Systems will con-                NOTICE TO RESPONDENT (Name):
                                                                 NAME STATEMENT                       duct an accreditation site visit of:               AVISO AL DEMANDADO (Nombre):
                                                   The following person(s) is/are doing business                                                         SIDNEY RAY MARTIN JR
                                                                           as:                        Hall Critical Care Transport on March
                                                             ARVIN MEDICAL CLINIC                     19-20, 2019.                                       You are being sued. Lo estan demandado.
                                                                    146 N HILL RD
                                                                 ARVIN , CA 93203                     The purpose of the site visit will be to           Petitioner's name is:
                                                                   Mailing Address:                   evaluate the program’s compliance                  Nombre del demandante:
                                                             11606 HARRINGTON ST.                     with nationally established medical                RUTH A MARTIN
     French Bulldog AKC female,                                   ARVIN, CA 93203                     transport standards. The site visit
  17 weeks, house broke, crate trained,                           Registrant's Name(s)                results will be used to determine                  You have 30 calendar days after this Summons and Petition are served on you to file a Response (form FL-220 or FL-270) at the court and have a
 leash broke, loves to cuddle, play ball.           KERN RURAL WELLNESS CENTERS, INC                  whether, and the conditions under                  copy served on the petitioner. A letter, phone call, or court appearance will not protect you.
      all shots, dew claws removed.                                146 N HILL RD.                     which,   accreditation    should      be           If you do not file your Response on time, the court may make orders affecting your right to custody of your children. You may also be ordered to
         $3,500.00. 661-342-1697                                  ARVIN, CA 93203                     awarded to the program.                            pay child support and attorney fees and costs, if you cannot pay the filing fee, ask the clerk for a fee waiver form.
                                                                 This business is being                                                                  For legal advice, contact a lawyer immediately. You can get this information about finding lawyers at the California Courts Online Self-Help
                                                                    conducted as an                   CAMTS accreditation standards deal                 Center(www.courtinfo.ca.gov/selfhelp), at the California Legal Services Web site (www.lawhelpcalifornia.org), or by contacting your local
                                                                   CORPORATION                        with issues of patient care and safety             county bar association.
                                                                         Signed                       of the transport environment. Anyone
                                                                   SAMIR MOHAN                        believing that he or she has pertinent             Tiene 30 días corridos después de haber recibido la entrega legal de esta Citación y Petición para presenter una Respuesta (formulario FL-220 ó
                                                   This statement filed with the County Clerk of      or valid information about such mat-               FL-270) ante la corte u efectuar la entrega legal de una copia al solicitante. Una carta o llamada telefónica no basta para protegerio.
                                                            Kern County on 01/22/2019                 ters may request a public information              Si no presenta su Respuesta a tiempo, la corte puede dar órdenes que afecten su matrimonio o paraeja de hecho, sus bienes y la custodia de sus
                                                        The registrant commenced to transact          interview with the CAMTS site survey-              hijos. La corte también le puede ordenar que pague manutención, y honorarios y costos legales. Si no puede pagar la cuota de presentacion, pida al
                                                   business under the fictitious business name or     ors at the time of the site visit. Infor-          secretario un formulario de exención de cuotas.
                                                                names listed above on                 mation presented at the interview will             Si desea obtenedr asesoramiento legal, póngase en contacto de inmediato con un abogado. Puede obtener información para encontrar a un
 French Bulldog Puppies. Ch. Import                                  10/23/2009                       be carefully evaluated for relevance to            abogado en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en el sitio Web de los Servicios Legales de Califronia
   lines. Excellent quality and temper-                          Mary B. Bedard, CPA                  the accreditation process. Requests for            (www.lawhelpcalifornia.org) o poniéndose en contacto con el colegio de abogados de su condado.
 ments. Home raised with TLC by retired                               County Clerk                    public information interviews must be
  veterinary tech. Health guaranteed.                              By: A. ZUBELDIA                    made in writing and sent to CAMTS no               NOTICE: The restraining orders on page 2 are effective against both spouses or domestic partners until the petition is dismissed, a judgment is
  Reasonably priced. Call 661-269-4673                   "NOTICE THIS FICTITIOUS NAME                 later than 10 business days before the             entered, or the court makes further orders. These orders are enforceable anywhere in California by any law enforcement officer who has received
                                                       STATEMENT EXPIRES 01/22/2024”                  site survey begins. The request should             or seen a copy of them.
       LABRADORS - AKC/OFA.                           "NOTICE THE COUNTY CLERK. A NEW                 also indicate the nature of the infor-             AVISO: Las órdenes de restricción que figuran en la página 2 valen para ambos cónyuges o paraja de hecho hasta que se despida la petición, se
      yellow, black, choc. $800.                    FICTITIOUS BUSINESS NAME STATEMENT                mation to be provided during the                   emita un fallo o la corte dé otras órdenes. Cualquier autoridad de la ley que haya recibido o visto una copia de estas órdenes puede hacerias acatar
     Mini LABRADOODLES 1200                          MUST BE FILED BEFORE THAT TIME, the              interview. Such request should be                  en cualquier lugar de California.
   GERMAN SHEPHERDS AKC/OFA                           filing of this Statement does not in itself     addressed to:                                      NOTE: If a judgement or support order is entered, the court may order you to pay all or part of the fees and costs that the court waived for
          $800 559-358-0226                         authorize the use in this State of A Fictitious                                                      yourself or the other party. If this happens, the party ordered to pay fees shall be given notice and an opportunity to request a hearing to set aside
                                                     Business Name in violation of the rights of      Office of the Executive Director                   the order to pay waived court fees.
    Siberian Husky Pups, pure bred,                 another under Federal, State or common law        Commission on Accreditation of                     AVISO: Si se emite un fallo u orden de manutención, la corte puede ordenar que usted pague parte de, o todos las cuotas y costos de la corte
    parents on site, males, females,                  (see Section 14411 et. seq. Business and        Medical Transport Systems                          previamente exentas a petición de usted o de la otra parte. Si esto ocurre, la parte ordenada a pagar estas cuotas debe recibir aviso y la oportunidad
      $400. ea. call 661-205-1537                                  Professions Code).                 PO Box 130                                         de solicitar una audiencia para anular la orden de pagar las cuotas exentas.
                                                            JAN. 24, 31, FEB. 7, 14, 2019             Sandy Springs, SC 29677
                                                                       14565661                                                                          1. The name and address of the court are (El nombre y dirección de la corte son):
                                                                                                      The Commission will acknowledge such               SUPERIOR COURT – COUNTY OF KERN
                                                                                                      written requests in writing or by tele-            1215 TRUXTUN AVE
                                                        The Bakersfield Californian                   phone and will inform the program of               BAKERSFIELD, CA 93301
Legal Notices                                          Classifieds Working For You!                   the request for an interview. The                  2. The name, address, and telephone number of petitioner's attorney, or the petitioner without an attorney, are:
                                                                                                      Commission will, in turn, notify the               (El nombre, dirección y número de teléfono del abogado del demandante, o del demandante si no tiene abogado, son):
                                                             FILE NO. #2019-B1033                     interviewee of the date, time and place            Ruth Ann Martin
Fictitious Names                                             FICTITIOUS BUSINESS                      of the meeting.                                    11411 Reagan Rd
                                                                                                                                                         Bakersfield, CA 93312
                                                                NAME STATEMENT
   Moving and you can’t                            The following person(s) is/are doing business                 Call 322-SELL.
                                                                                                                                                         Date (Fecha): JAN 08 2019
                                                                                                                                                         Tamarah Harber-Pickens, Clerk
    take the Treadmill?                            as:
                                                                                                       We can help you sell your items Fast!!            B Brand, Deputy (Asistente)
                                                     RIVER’S END RAFTING & ADVENTURE
  Advertise it tomorrow in                                           COMPANY
      the Classifieds.                                           15701 HWY 178                                                                           February 14, 21, 28, March 7, 2019 (14571729)
  Don’t Delay -- Call Today                                 BAKERSFIELD, CA 93306
                                                                  KERN COUNTY                                Are You
                322-SELL                           Mailing Address:
                                                               110 TREMONT WAY
                                                            BAKERSFIELD, CA 93312
                                                                                                           Looking For                                                     Who says there is never any
                                                                                                           Something
                STATEMENT OF

                                                                                                                                                                                                         good news?
ABANDONMENT OF USE OF FICTITIOUS                   Registrant's Name(s)
                BUSINESS NAME                            RIVER’S END ENTERPRISES LLC
                  Business Name
              you wish to abandon:
                                                               110 TREMONT WAY
                                                            BAKERSFIELD, CA 93312                              Fun
           ARVIN MEDICAL CLINIC
                 146 N HILL RD
                                                   This business is being
                                                   conducted as an
                                                         LIMITED LIABILITY COMPANY
                                                                                                            To Do This                                                              Tell your story with the pictures and words that
                                                                                                                                                                                       mean the most to you. For information about
                                                                                                            Weekend?
               ARVIN, CA 93203
                 Mailing Address:                  Signed                                                                                                                                  creating your individualized Applause ad,
          11606 HARRINGTON ST                                     SARA ARDONA
                                                   This statement filed with the County Clerk of                                                                                                                        call 322-7355
          BAKERSFIELD, CA 93311
              Registrant(s) who wish               Kern County on 02/12/2019
                                                   The registrant commenced to transact
                                                                                                          How About An                                                                                                 e-mail applause@bakersfield.com
         to abandon the business name:
 KERN RURAL WELLNESS CENTERS, INC
                 146 N HILL RD
                                                   business under the fictitious business name or
                                                   names listed above on
                                                                                                           Open House?                                                                           For Self-Serve Applause ads visit
                                                                                                                                                                                                  http://applause.bakersfield.com
                                                   02/05/2019
               ARVIN, CA 93203
I declare that all information in this Statement   Mary B. Bedard, CPA                                   Open Houses are
                                                   County Clerk
           is true and correct. Signed:
                 SAMIR MOHAN                       By: A ZUBELDIA                                           listed every                                                                            United States Bankruptcy Court for the Northern District of California
                                                   "NOTICE       THIS     FICTITIOUS       NAME
This statement of abandonment filed with the
        County Clerk of Kern County on             STATEMENT EXPIRES 02/12/2024”                         weekend in the                                   Debtors: PG&E Corporation and Pacific Gas and Electric Company
                                                                                                                                                          Date cases filed in chapter 11: 01 / 29 / 2019
                                                   "NOTICE THE COUNTY CLERK. A NEW
                   01/22/2019
     Original FBN Statement File Number:           FICTITIOUS BUSINESS NAME STATEMENT                       Real Estate                                   Case number: 19-30088 (DM) (Lead Case; Jointly Administered)
                                                   MUST BE FILED BEFORE THAT TIME, the
                   2018-B8881
       Original FBN Statement Filed on:            filing of this Statement does not in itself                 section.                                   Notice of Chapter 11 Bankruptcy Cases
                   12/14/2018                      authorize the use in this State of A Fictitious                                                           For the debtors listed above, cases have been filed under chapter 11 of the Bankruptcy Code and orders for relief have been entered. This notice
             MARY B. BEDARD, CPA                   Business Name in violation of the rights of
                                                   another under Federal, State or common law
                                                                                                                   Get Out                                has important information about the cases for creditors, debtors, and trustees, including information about the meeting of creditors and deadlines.
                   County Clerk
                 By A ZUBELDIA                     (see Section 14411 et. seq. Business and                           &                                      The filing of the cases imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
                                                   Professions Code).                                                                                     collect debts from the debtors or the debtors’ property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess
                      Deputy
         JAN. 24, 31, Feb. 7, 14, 2019             February 14, 21, 28, March 7, 2019                          Visit One Today                            property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from the debtors by mail, phone, or otherwise. Creditors
                     1456564                       (14571812)                                                                                             who violate the stay can be required to pay actual and punitive damages and attorney’s fees.
                                                            SUMMONS (Family Law)                                                                             Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may
                                                       CASE NUMBER (NUMERO DE CASO):                                                                      be required to file a complaint in the bankruptcy clerk’s office within the deadline specified in this notice. (See line 11 below for more information.)
                                                               DFL-19000012                                                                                  To protect your rights, consult an attorney. All documents filed in the cases may be inspected at the bankruptcy clerk’s office at the address
NOTICE TO RESPONDENT (Name):
                                                                                                                                                          below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).
AVISO AL DEMANDADO (Nombre):                                                                                                                                 The staff of the bankruptcy clerk’s office cannot give legal advice. Do not file this notice with any proof of claim or other filing in the
RONALD P. MANTURANO                                                                                                                                       cases.
                                                                                                                                                             1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Street, P.O. Box 77000, San Francisco, California
You are being sued. Lo estan demandado.                                                                                                                   94177, 19-30088 (DM), XX-XXXXXXX; Pacific Gas and Electric Company, 77 Beale Street, P.O. Box 77000, San Francisco, California 94177,
Petitioner's name is:                                                                                                                                     19-30089 (DM), XX-XXXXXXX.
Nombre del demandante:                                                                                                                                       2. All other names used in the last 8 years: n/a
DOLORES R. MESTAZ                                                                                                                                            3. Address: See above
You have 30 calendar days after this Summons and Petition are served on you to file a Response (form FL-220 or FL-270) at the court and have a
                                                                                                                                                             4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENVENUTTI LLP, 650 California Street, Suite 1900, San Francisco, CA 94108
copy served on the petitioner. A letter, phone call, or court appearance will not protect you.                                                            -and- Stephen Karotkin (pro hac vice), WEIL, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY 10153. Debtors’ Claims and Noticing
If you do not file your Response on time, the court may make orders affecting your right to custody of your children. You may also be ordered to          Agent: If you have questions about this notice, please contact Prime Clerk LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929)
pay child support and attorney fees and costs, if you cannot pay the filing fee, ask the clerk for a fee waiver form.                                     333-8977 (Int’l). Email: pgeinfo@primeclerk.com. Website: https://restructuring.primeclerk.com/pge
For legal advice, contact a lawyer immediately. You can get this information about finding lawyers at the California Courts Online Self-Help                 5. Bankruptcy clerk’s office: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box 36099, San Francisco, CA 94102. Hours open:
Center(www.courtinfo.ca.gov/selfhelp), at the California Legal Services Web site (www.lawhelpcalifornia.org), or by contacting your local
county bar association.                                                                                                                                   Monday-Friday, 9 a.m.- 4:30 p.m. (CT). Contact phone: 888-821-7606. Documents in these cases may be filed at this address. You may
                                                                                                                                                          inspect all records filed in these cases at this office or online at www.pacer.com.
Tiene 30 días corridos después de haber recibido la entrega legal de esta Citación y Petición para presenter una Respuesta (formulario FL-220 ó              6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip Burton Federal Building and U.S. Court-
FL-270) ante la corte u efectuar la entrega legal de una copia al solicitante. Una carta o llamada telefónica no basta para protegerio.                   house, 450 Golden Gate Avenue, 2nd Floor, California Conference Room, San Francisco, CA 94102. The debtors’ representative must attend
Si no presenta su Respuesta a tiempo, la corte puede dar órdenes que afecten su matrimonio o paraeja de hecho, sus bienes y la custodia de sus
hijos. La corte también le puede ordenar que pague manutención, y honorarios y costos legales. Si no puede pagar la cuota de presentacion, pida al        the meeting to be questioned under oath. Creditors may attend, but are not required to do so. The meeting may be continued or adjourned to
secretario un formulario de exención de cuotas.                                                                                                           a later date. If so, the date will be on the court docket.
Si desea obtenedr asesoramiento legal, póngase en contacto de inmediato con un abogado. Puede obtener información para encontrar a un                        7. Proof of claim deadline: Deadline for filing proof of claim: To Be Determined. A proof of claim is a signed statement describing a
abogado en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en el sitio Web de los Servicios Legales de Califronia                    creditor’s claim. A proof of claim form may be obtained at www.uscourts.gov or any bankruptcy clerk’s office. Your claim will be allowed in
(www.lawhelpcalifornia.org) o poniéndose en contacto con el colegio de abogados de su condado.
                                                                                                                                                                     disputed, contingent, or unliquidated           
NOTICE: The restraining orders on page 2 are effective against both spouses or domestic partners until the petition is dismissed, a judgment is                                disputed, contingent, or unliquidated,
entered, or the court makes further orders. These orders are enforceable anywhere in California by any law enforcement officer who has received           you must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You may file a proof of claim
or seen a copy of them.                                                                                                                                   even if your claim is scheduled. You may review the schedules at the bankruptcy clerk’s office or online at www.pacer.gov. Secured creditors
AVISO: Las órdenes de restricción que figuran en la página 2 valen para ambos cónyuges o paraja de hecho hasta que se despida la petición, se
emita un fallo o la corte dé otras órdenes. Cualquier autoridad de la ley que haya recibido o visto una copia de estas órdenes puede hacerias acatar      retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of the
en cualquier lugar de California.                                                                                                                         bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who files a proof of claim may surrender important
NOTE: If a judgement or support order is entered, the court may order you to pay all or part of the fees and costs that the court waived for              nonmonetary rights, including the right to a jury trial.
yourself or the other party. If this happens, the party ordered to pay fees shall be given notice and an opportunity to request a hearing to set aside       8. Exception to discharge deadline: You must start a judicial proceeding by filing a complaint if you want to have a debt excepted from dis-
the order to pay waived court fees.
AVISO: Si se emite un fallo u orden de manutención, la corte puede ordenar que usted pague parte de, o todos las cuotas y costos de la corte              charge under 11 U.S.C. § 1141(d)(6)(A). The bankruptcy clerk’s office must receive a complaint and any required filing fee by the following dead-
previamente exentas a petición de usted o de la otra parte. Si esto ocurre, la parte ordenada a pagar estas cuotas debe recibir aviso y la oportunidad    line. Deadline for filing the complaint: To Be Determined
de solicitar una audiencia para anular la orden de pagar las cuotas exentas.                                                                                 9. Creditors with a foreign address: If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the
1. The name and address of the court are (El nombre y dirección de la corte son):
                                                                                                                                                          court to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about
SUPERIOR COURT – NORTH DIV DELANO-MCFARLAND BRANCH                                                                                                        your rights in these cases.
1122 JEFFERSON STREET                                                                                                                                        10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective
DELANO, CA 93215                                                                                                                                          unless the court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you may have the
2. The name, address, and telephone number of petitioner's attorney, or the petitioner without an attorney, are:                                          opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing, and you may object to confirmation of the plan
(El nombre, dirección y número de teléfono del abogado del demandante, o del demandante si no tiene abogado, son):
Dolores R. Mestaz                                                                                                                                         and attend the confirmation hearing. Unless a trustee is serving, the debtors will remain in possession of the property and may continue to
722 Randolph Street                                                                                                                                       operate their business.
Delano, CA 93215                                                                                                                                             11. Discharge of debts: Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt. See
Date (Fecha): JAN 16 2019                                                                                                                                 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtors except as provided in the plan. If you
Tamarah Harber-Pickens, Clerk
Denise Munoz, Deputy (Asistente)                                                                                                                          want to have a particular debt owed to you excepted from the discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding
                                                                                                                                                          by filing a complaint and paying the filing fee in the bankruptcy clerk’s office by the deadline.
February 14, 21, 28, March 7, 2019 (14571664)        Case: 19-30088                            Doc# 522-3                      Filed: 02/20/19                          Entered: 02/20/19 18:38:39                                            Page 4
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